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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                    )
 MARYLAND CHAPTER OF THE SIERRA                     )
 CLUB et al.,                                       )
                                                    )    No. 8:22-cv-2597
                Plaintiffs,                         )
                                                    )    Hon. Deborah K. Chasanow
        v.                                          )
                                                    )
 FEDERAL HIGHWAY ADMINISTRATION                     )
 et al.,                                            )
                                                    )
                Defendants.                         )


                                NOTICE OF APPEARANCE

       Please enter the appearance of Frances B. Morris as counsel for Defendants the Federal

Highway Administration, Stephanie Pollack in her official capacity, and Gregory Murrill in his

official capacity (together the “Federal Defendants”) in the above captioned case. Service upon

the Federal Defendants of all papers other than those filed through the Court’s ECF system

should be addressed to Ms. Morris as follows:

                              Natural Resources Section
                              Environmental and Natural Resources Division
                              U.S. Department of Justice
                              P.O. Box 7611
                              Washington, D.C. 20044-7611

       Overnight deliveries, express mail, and UPS deliveries should be addressed as follows:

                              Natural Resources Section
                              Environmental and Natural Resources Division
                              U.S. Department of Justice
                              150 M Street, N.E.
                              Suite 2.900
                              Washington, D.C. 20002




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Dated: February 10, 2023



                                  Respectfully submitted,

                                  TODD KIM
                                  Assistant Attorney General

                                  By: s/Frances B. Morris
                                  Frances B. Morris
                                  Trial Attorney
                                  United States Department of Justice
                                  Environment & Natural Resources Division
                                  Natural Resources Section
                                  P.O. Box 7611
                                  Washington, DC 20044-7611
                                  Tel: 202-514-2855
                                  Fax: 202-305-0506
                                  E-Mail: frances.morris@usdoj.gov

                                  Counsel for Federal Defendants




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 10th day of February, 2023 that a copy of the

foregoing Notice of Appearance has been electronically filed with the Clerk of Court and served

on all registered parties via CM/ECF.


                                                           By: /s/ Frances B. Morris
                                                           FRANCES B. MORRIS




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